         CASE 0:17-cr-00107-DWF-TNL        Doc. 72    Filed 06/01/17    Page 1 of 8




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                             Criminal No. 17-107(6) (DWF/TNL)

                      Plaintiff,

v.                                                     ORDER AND MEMORANDUM

Gregory Kimmy,
a/k/a Fat P,

                      Defendant.




         This matter is before the Court on the Government’s request for de novo review of

Magistrate Judge Andrew W. Austin’s Order Setting Conditions of Release filed on

May 30, 2017, Doc. No. 14, United States of America v. Kimmy, 1:17-MJ-375

(W.D. Tex. May 30, 2017) (“Kimmy I”). (Doc. No. 58.) After the Magistrate Judge

ordered Defendant released, the Government filed an emergency motion seeking a stay of

the release, which the Court granted pending its review of the Order. (Doc. Nos. 59 &

60.) The Government argues that Defendant should not be released because there is no

set of conditions that would reasonably assure the safety of the community and

Defendant’s appearance at trial or that Defendant will not abide by the conditions of

release. After the Court granted the stay, the Magistrate Judge issued an order and

supplement to the order detailing his bases for granting release. (Kimmy I, Doc. Nos. 17

& 18) Both parties have filed responses to the Magistrate Judge’s orders. (Doc. Nos. 68

& 71.)
       CASE 0:17-cr-00107-DWF-TNL          Doc. 72    Filed 06/01/17     Page 2 of 8




       Based upon the presentations of counsel, the Court having reviewed the file in this

matter, including the parties’ submissions to the Magistrate Judge (Kimmy I, Doc. Nos. 2

& 6), the audio transcript from the May 30, 2017 hearing, Magistrate Judge’s Order and

Supplement to the Order, the Pretrial Services Report, as well as the letters from friends

and family on behalf of the Defendant, and the Court being otherwise duly advised in the

premises, the Court hereby enters the following:

                                         ORDER

       1.     The Government’s Motion for Emergency Stay and for Review and

Revocation of Release Order (Doc. No. [58]) is GRANTED.

       2.     Pending further order of this Court or hearing before this Court, the Court

REVOKES the release order entered by Magistrate Judge Andrew W. Austin on May 30,

2017. The Court specifically finds, pursuant to 18 U.S.C. § 3142(e)(3), that there is no

condition or combination of conditions that will reasonably assure the defendant’s

appearance as required and the safety of the community.

       3.     Detention Hearing. The Court reserves the right to set a detention hearing

before it once the defendant is present in the District of Minnesota and has had an

opportunity to consult with counsel.

       Consequently, the Court specifically orders that Defendant be detained pending

further order of this Court.

Dated: June 1, 2017                       s/Donovan W. Frank
                                          DONOVAN W. FRANK
                                          United States District Judge
                                             2
       CASE 0:17-cr-00107-DWF-TNL           Doc. 72     Filed 06/01/17     Page 3 of 8




                                     MEMORANDUM

       Defendant Gregory Kimmy was indicted as a member of an international

sex-trafficking and money-laundering organization. Kimmy has been charged with

Conspiracy to Commit Sex Trafficking by Force, Fraud, and Coercion, in violation of

18 U.S.C. § 1594 (Count 1); Conspiracy to Commit Transportation to Engage in

Prostitution, in violation of 18 U.S.C. §§ 371 and 2421 (Count 3); Conspiracy to Engage

in Money Laundering, in violation of 18 U.S.C. § 1956(h) (Count 4); and Conspiracy to

Use a Communication Facility to Promote Prostitution, in violation of 18 U.S.C. §§ 371,

1952 (Count 5). Under the U.S. Sentencing Guidelines, if convicted of these offenses,

Defendant faces an advisory sentence of life in prison.

       Defendant was allegedly one of the house bosses for the sex-trafficking

organization. House bosses would run the day-to-day operations, including advertising

victims for commercial sex acts, procuring and maintaining the houses of prostitution,

scheduling sex buyers, and ensuring that a portion of the cash was routed back to pay

down the victim’s bondage debts. (Doc. No. 46 (“Indictment”) ¶ 5b.) In exchange,

house bosses retained a significant portion of the cash that the victims received, typically

40%. (Id.) House bosses would also coordinate with traffickers and other house bosses

to facilitate the victims’ travel to other cities in the United States. (Id.) Once victims

were lured to the United States, they were forced to work long hours—often all day,

every day—having sex with strangers to attempt to pay down their bondage debt.



                                              3
       CASE 0:17-cr-00107-DWF-TNL          Doc. 72     Filed 06/01/17    Page 4 of 8




Victims typically did not have the ability to choose with whom they had sex, what sex

transactions they would engage in, or when they would have sex. (Id. ¶ 4.)

       Defendant and his wife are both indicted house bosses in this case. (Id. ¶ 5. )

Defendant and his wife are lessors of a house where law enforcement observed activity

consistent with an active house of prostitution—i.e., a series of men, later identified by

the victims as sex buyers, entering and leaving the house at hourly intervals. (Doc. No.

58 at 8-9.) Defendant was observed at the house of prostitution, and a phone number

associated with him was used to schedule sex buyers. (Kimmy I, Doc. No. 17 (“Order”)

¶ 2.) Additionally, the Government states that witnesses—including a

co-defendant—will testify that Defendant was a house boss.

       Defendant has sought pretrial release. The Pretrial Services Report recommended

that Defendant be detained because of: (1) the nature of the offense; (2) Defendant’s

foreign ties—his step-son lives in Thailand, and Defendant’s wife owns a home there;

(3) Defendant’s possession of a valid U.S. Passport; (4) Defendant’s trip to Thailand in

2014; and (5) Defendant’s ownership of a firearm. The Magistrate Judge, however,

granted conditional release, and the Government appealed. The district court conducts a

de novo review of release and detention orders. Pursuant to Rule 46(b) of the Federal

Rules of Criminal Procedure and 18 U.S.C. § 3142, courts consider the following factors

in assessing the continued detention of a defendant:

       (a)    The nature and circumstances of the offense charged . . . ;

       (b)    the weight of the evidence against the [defendant];
                                             4
       CASE 0:17-cr-00107-DWF-TNL            Doc. 72     Filed 06/01/17     Page 5 of 8




       (c)    the history and characteristics of the [defendant] . . . ; and

       (d)    the nature and seriousness of the danger to any person or the
              community that would be posed by the [defendant’s] release . . . .

       Pretrial detention may be ordered either upon a clear and convincing showing that

release would result in a danger to the community or upon a showing by a preponderance

of the evidence that the release will result in a serious risk of flight. United States v.

Abad, 350 F.3d 793, 797 (8th Cir. 2003); United States v. Sazenski, 806 F.2d 846, 848

(8th Cir. 1986). Moreover, there is a rebuttable presumption that “no condition or

combination of conditions will reasonably assure the appearance of the person as required

and the safety of the community if the judicial officer finds that there is probable cause to

believe that the person committed an offense under chapter 77 of this title for which a

maximum term of imprisonment of 20 years or more is prescribed.”

18 U.S.C § 3142(e)(3)(D).

       Here, Defendant has been charged with Conspiracy to Commit Sex Trafficking by

Force, Fraud, and Coercion, in violation of 18 U.S.C. § 1594 (Count 1), a Chapter 77

offense punishable by up to life in prison. Defendant was the lessor of the house of

prostitution, he was observed at the house of prostitution, and a phone number associated

with him was used to schedule sex buyers. Further, witnesses will testify to Defendant’s

role as a house boss. Given these particular allegations, there is probable cause to believe

that Defendant committed Count I of the Indictment. As a result, Defendant must

overcome the rebuttable presumption of detention.
                                               5
       CASE 0:17-cr-00107-DWF-TNL           Doc. 72    Filed 06/01/17     Page 6 of 8




       “In a presumption case such as this, a defendant bears a limited burden of

production—not a burden of persuasion—to rebut that presumption by coming forward

with evidence he does not pose a danger to the community or a risk of flight.” UAbad,

350 F.3d at 797 (quoting United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)).

Once a defendant has met his burden, a presumption favoring detention “remains a factor

to be considered among those weighed by the district court.” Id.

       Here, in granting conditional release, the Magistrate Judge concluded that

Defendant overcame the statutory presumption, and that the Government had failed to

prove Defendant was a flight risk. (Order at 1.) In reaching that conclusion, the

Magistrate Judge dismissed evidence linking Defendant to the conspiracy because the

Government had failed to provide any evidence that Defendant had ever:

(1) communicated with the lead members of the conspiracy; (2) met any of the members

of the conspiracy other than his wife; or (3) traveled to Minneapolis. (Id. at ¶ 1.)

Similarly, the Magistrate Judge discounted Defendant’s involvement because the

Government provided no evidence that Defendant “engaged in any violent or coercive

behavior, visa fraud, or had control of large sums of money.” (Id. at ¶ 5.)

       Additionally, in analyzing factors for release, the Magistrate Judge found that:

(1) Defendant is a U.S. citizen and lifelong Texas resident with strong ties to the area;

(2) Defendant’s family attended the hearing, and his mother testified on his behalf;

(3) Defendant has no criminal history; (4) Defendant has infrequently traveled

internationally; (5) Defendant’s mother and brother co-signed an appearance bond in the
                                              6
       CASE 0:17-cr-00107-DWF-TNL          Doc. 72     Filed 06/01/17    Page 7 of 8




amount of $150,000; and (6) Defendant has known about the investigation since

December 2016, but has not fled. (Order at ¶¶ 8-13.)

       The Court respectfully disagrees with the Magistrate Judge. Defendant has been

indicted as part of an international sex-trafficking and money-laundering organization.

This organization is allegedly ongoing. The Government states that witnesses and

evidence will show that Defendant was a house boss of one of the many houses of

prostitution where victims were forced to work long hours—often all day, every day—

having sex with strangers to attempt to pay down their bondage debt. Victims typically

did not have the ability to choose whom they had sex with, what sex transactions they

would engage in, or when they would have sex. In exchange, Defendant allegedly

received a significant portion of the cash that the victims received, typically 40%. If

convicted, Defendant faces up to life in prison. Defendant therefore faces serious charges

for which there is substantial evidence. Further, Defendant potentially has access to

stockpiles of illicit cash from operating as a house boss and has access to a home in

Thailand where his step-son lives. Consequently, the Court concludes that the United

States has shown that “no condition or combination of conditions will reasonably assure

the appearance of the Defendant as required and the safety of any other person in the

community.”

       For the reasons stated, the Court has concluded that the Government has shown by

clear and convincing evidence that no set of conditions will reasonably assure the safety

of the community, and the Government has shown by a preponderance of the evidence
                                             7
      CASE 0:17-cr-00107-DWF-TNL          Doc. 72     Filed 06/01/17    Page 8 of 8




that no set of conditions will reasonably assure Defendant’s appearance. The

Government’s appeal of Magistrate Judge Andrew W. Austin’s May 30, 2017 Release

Order is granted, Defendant’s conditional release is revoked, and the Court orders that

Defendant be detained pending further order of this Court.

                                         D.W.F.




                                            8
